                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


                                                   )
ANTHONY M. ELLIS                                   )
                                                   )
                                                   )
v.                                                 )      NO. 3:12-0401
                                                   )      JUDGE CAMPBELL
                                                   )
SOUTHERN HEALTH PARTNERS                           )
                                                   )

                                  ENTRY OF JUDGMENT


              Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 6/13/2012.



                                                   KEITH THROCKMORTON, CLERK
                                                   s/Elaine J. Hawkins, Deputy Clerk




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